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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )              Case No. 8:02CR353
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                    ORDER
TONY SKANNELL,                                )
                                              )
                     Defendant.               )


       This case is before the court on the defendant Tony Skannell's request for a

court-appointed attorney (#816). A review of the court docket discloses that the defendant

is a career offender and as such is not eligible for a sentence reduction.

       IT IS ORDERED:

       1. The Motion to Appoint Attorney (#816) is denied.

       2. The Clerk's office is directed to mail a copy of this Order to Mr. Skannell.

       Dated this 23rd October 23, 2013.

                                          BY THE COURT:


                                          S/ F.A. Gossett, III
                                          United States Magistrate Judge
